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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 2
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                                              Monday, September 19, 2022 at 14:43:09 Mountain Daylight Time


 Subject: Re: Conferral re: Coomer v. Lindell et. al. subpoena
 Date: Friday, September 16, 2022 at 4:35:26 PM Mountain Daylight Time
 From: Brad Kloewer
 To:      Andrea Hall, ingrid.defranco@gmail.com, Charlie Cain, ScoO Beam

 Ok, thanks for the conﬁrma1on Andrea. I’m not sure how providing an address where Oltmann could be
 served would violate any ethical duty, but we’ll be sure to note your refusal to provide any coopera1on in our
 mo1on.

 As far as Oltmann’s statements regarding a poten1al FBI raid, you have as much access to his Telegram
 account as I do, and you can scroll up to his post from Wednesday morning as well as I can. It appears he
 posted similar commentary on Truth Social as well. He also discussed your conversa1ons with him on the
 maFer at length during a recent Conserva1ve Daily episode. Public repor1ng suggests the FBI’s recent
 ac1vi1es pertain to a separate maFer, but Mr. Oltmann leaving the state is certainly relevant to our ongoing
 inability to serve him with the subpoena, as is your frequent and ongoing professional contact with him, both
 of which are relevant to the legal standards that pertain to the mo1on I was reaching out to you on.

 Finally, I understand that you do not appreciate being apprised of your client’s poten1ally sanc1on-worthy
 conduct, but it is our prac1ce to always reach out in an eﬀort to amicably and professionally resolve poten1al
 disputes before bringing them before the court. We take that duty seriously, and that prac1ce will not change
 moving forward.

 Have a nice weekend.

 __________________

 Brad Kloewer
 Cain & Skarnulis PLLC
 719-530-3011
 bkloewer@cstrial.com

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 be protected by legal privileges and work product immunities.


 From: Andrea Hall <andrea@thehalllawoﬃce.com>
 Date: Friday, September 16, 2022 at 3:58 PM
 To: Brad Kloewer <bkloewer@cstrial.com>, ingrid.defranco@gmail.com <ingrid.defranco@gmail.com>,
 Charlie Cain <ccain@cstrial.com>, Sco[ Beam <sbeam@cstrial.com>
 Subject: RE: Conferral re: Coomer v. Lindell et. al. subpoena

 Brad,
 I previously told you I would not accept service on behalf of my clients. I am also shocked you keep
 asking for information. I am ethically prohibited from disclosing information I know only through
 representation, and my client has told me in confidence.

 Additionally, my client(s) are not part of your federal lawsuit against Mr. Lindell, and because of that, I
 am not sure how you can effect substituted service by serving me.

 Please provide documentation that my client went on Telegram and said I told him to leave the state
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 Please provide documentation that my client went on Telegram and said I told him to leave the state
 because you were trying to serve him with a subpoena or that he was likely to get raided by the FBI.
 Even if the comment was true, how does the raid from the FBI have anything to do with your case
 unless you are somehow working with the FBI?

 You do what you think you need to do on behalf of your client. Additionally, please stop with your
 threats which seem to once again be your office’s normal behavior.
 Andrea



 Andrea M. Hall
 The Hall Law Oﬃce, LLC
 970-419-8234
 andrea@thehalllawoﬃce.com

 From: Brad Kloewer <bkloewer@cstrial.com>
 Sent: Wednesday, September 14, 2022 10:18 AM
 To: Andrea Hall <andrea@thehalllawoﬃce.com>; ingrid.defranco@gmail.com; Charlie Cain
 <ccain@cstrial.com>; Sco[ Beam <sbeam@cstrial.com>
 Subject: Re: Conferral re: Coomer v. Lindell et. al. subpoena

 Hi Andrea,

 I’m wri1ng to again check if you’ll accept service of the subpoena for your client Mr. Oltmann related to
 Coomer v. Lindell et. al., Case No. 1:22-cv-01129-WJM. I note you did not respond when I requested an
 address where Mr. Oltmann could be served when I wrote two weeks ago, on August 30.

 Please be advised that if your client does not consent to waive service, we will ﬁle a mo1on for subs1tuted
 service under FRCP 4 seeking leave to serve you directly. At this point we have already sa1sﬁed the standard
 and can produce all the evidence necessary for the mo1on to be granted, including an aﬃdavit from our
 process server describing how he was turned away from Mr. Oltmann’s oﬃce when Mr. Oltmann was known
 to be present inside. In addi1on, your client indicated on Telegram this morning that he is leaving the state as
 a result of your warning to him that he is likely to soon be raided by the FBI. This circumstance will likely
 weigh in favor of subs1tuted service as well.

 As you’re aware, when a waiver is refused without good cause, FRCP 4(2)(A-B) expressly requires that “the
 court must impose on the defendant … the expenses later incurred in making service; and the reasonable
 expenses, including aForney’s fees, of any mo1on required to collect those service expenses.”

 Please advise by close of business today if your client intends to persist in his refusal to waive service.


 __________________

 Brad Kloewer
 Cain & Skarnulis PLLC
 719-530-3011
 bkloewer@cstrial.com

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 be protected by legal privileges and work product immunities.

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 From: Brad Kloewer <bkloewer@cstrial.com>
 Date: Tuesday, August 30, 2022 at 9:15 AM
 To: Andrea Hall <andrea@thehalllawoﬃce.com>, ingrid.defranco@gmail.com
 <ingrid.defranco@gmail.com>, Charlie Cain <ccain@cstrial.com>, Sco[ Beam <sbeam@cstrial.com>
 Subject: Re: Conferral re: Coomer v. Lindell et. al. subpoena

 Hi Andrea,

 In that case, please provide an address where Mr. Oltmann can be served.

 This is with respect to Coomer v. Lindell et. al., Case No. 1:22-cv-01129-NYW-SKC.

 We need to depose Mr. Oltmann because he is a key witness in the case with material knowledge of the facts
 alleged in the complaint.


 __________________

 Brad Kloewer
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 719-530-3011
 bkloewer@cstrial.com

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 be protected by legal privileges and work product immunities.


 From: Andrea Hall <andrea@thehalllawoﬃce.com>
 Date: Tuesday, August 30, 2022 at 9:04 AM
 To: Brad Kloewer <bkloewer@cstrial.com>, ingrid.defranco@gmail.com <ingrid.defranco@gmail.com>,
 Charlie Cain <ccain@cstrial.com>, Sco[ Beam <sbeam@cstrial.com>
 Subject: RE: Conferral re: Coomer v. Lindell et. al. subpoena

 Brad,
 I do not have permission to accept service on behalf of Mr. Oltmann. Can you please tell me what case name
 and number you refer to regarding Mr. Lindell? Can you please explain why you believe you need to depose
 Mr. Oltmann?
 Thanks,
 Andrea


 Andrea M. Hall
 The Hall Law Oﬃce, LLC
 970-419-8234
 andrea@thehalllawoﬃce.com

 From: Brad Kloewer <bkloewer@cstrial.com>
 Sent: Monday, August 29, 2022 10:14 AM
 To: Andrea Hall <andrea@thehalllawoﬃce.com>; ingrid.defranco@gmail.com; Charlie Cain
 <ccain@cstrial.com>; Sco[ Beam <sbeam@cstrial.com>
                                                                                                        Page 3 of 4
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 <ccain@cstrial.com>; Sco[ Beam <sbeam@cstrial.com>
 Subject: Conferral re: Coomer v. Lindell et. al. subpoena

 Hi Andrea,

 Please let us know by the end of this week if you’re authorized to accept service of our subpoena on Joe
 Oltmann for document produc1on and his appearance for a deposi1on in Dr. Coomer’s lawsuit against Mike
 Lindell, My Pillow, and Frank Speech.

 If not, please let us know a reliable address where we can have Mr. Oltmann served. Thanks.

 __________________

 Brad Kloewer
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 Salida, CO 81201
 719-530-3011
 bkloewer@cstrial.com

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